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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division


 LEAGUE OF UNITED LATIN AMERICAN
 CITIZENS - RICHMOND REGION
 COUNCIL 4614, ELIUD BONILLA,
 LUCIANIA FREEMAN, and ABBY JO
 GEARHART,

                            Plaintiffs,              Civil Action No. 1:18-cv-00423 (LO/IDD)
                v.

 PUBLIC INTEREST LEGAL FOUNDATION
 and J. CHRISTIAN ADAMS,

                            Defendants.


            STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE

        Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure and the

 agreement among the undersigned parties, the undersigned parties hereby stipulate to the

 dismissal of the above-captioned action with prejudice. The Court will retain jurisdiction over

 the Action for the purpose of enforcing compliance with the terms of the parties’ agreement.

 Dated: July 22, 2019                      Respectfully submitted,



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 SO ORDERED:


 United States District Court Judge




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